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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    MAUREEN STRATTON,                                 Case No.: 20-CV-2037 JLS (NLS)
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13    v.                                                MOTION TO CONTINUE
                                                        ADMINISTRATIVE RECORD
14    LIFE INSURANCE COMPANY OF
                                                        SUBMISSION DATE
      NORTH AMERICA,
15
                                     Defendant.
16                                                      (ECF No. 46)
17
18         Presently before the Court is the Parties’ Joint Motion to Continue Administrative
19   Record Submission Date from October 29, 2021 to November 5, 2021 (ECF No. 46). To
20   facilitate the Court’s review of the parties’ Cross-Motions for Judgment and preparation
21   for the January 27, 2022 Motion Hearing, the Court previously ordered the Parties to lodge
22   a binder containing relevant pages of the Administrative Record with chambers by October
23   29, 2021. (ECF No. 45.) The Parties request a brief continuance on this deadline because
24   counsel for Defendant is starting a two-week jury trial on October 19, 2021. (ECF No. 46
25   at 2.) Good cause appearing, the Court GRANTS the Joint Motion. The Parties SHALL
26   ///
27   ///
28   ///

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                                                                             20-CV-2037 JLS (NLS)
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 1   LODGE the excerpted Administrative Record, as detailed in ECF No. 45, on or before
 2   November 5, 2021.
 3         IT IS SO ORDERED.
 4   Dated: October 19, 2021
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